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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SYMBOLOGY INNOVATIONS                           )
 LLC,                                            )
                                                 )
                        Plaintiff,               )
                                                 ) C.A. No. 1:19-cv-00999-RGA
        v.                                       )
                                                 ) JURY TRIAL DEMANDED
 SPOTON TRANSACT, LLC,                           )
                                                 )
                        Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff Symbology Innovations

LLC hereby dismisses this action with prejudice. According to Rule 41(a)(1), an action may be

dismissed by the plaintiff without order of court by filing a notice of dismissal at any time before

service by the adverse party of an answer. Defendant has not yet answered the Complaint.

Accordingly, Plaintiff voluntarily dismisses this action against Defendant with prejudice pursuant

to Rule 41(a)(1). Each party shall bear its own costs, expenses, and attorneys’ fees.


 Dated: September 6, 2019                       Respectfully Submitted,

                                                DEVLIN LAW FIRM LLC

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